        Case 1:20-cv-00722-SES Document 23 Filed 10/19/20 Page 1 of 1




                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
JUDY K. EVANS, Administratrix of          :    CIVIL NO: 1:20-CV-00722
the Estate of Tyler J. Evans,             :
Deceased,                                 :
                                          :
                   Plaintiff,             :
                                          :
             v.                           :    (Chief Magistrate Judge Schwab)
                                          :
COLUMBIA COUNTY, et al.,                  :
                                          :
                   Defendants.            :
                                          :


                                    ORDER
                                 October 19, 2020


      For the reasons set forth in the Memorandum Opinion filed concurrently

with this Order, IT IS ORDERED the “Defendants’ Motion to Strike Paragraphs

2, 3, and 4 from Plaintiff’s Complaint Pursuant to Fed. R. Civ. P. 12(f) and to

Dismiss Portions of the Complaint Pursuant to Fed. R. Civ. P. 12(b)(6)” (doc. 19)

is DENIED.



                                              S/Susan E. Schwab
                                              Susan E. Schwab
                                              Chief United States Magistrate Judge
